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                        IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JEFFREY SYNAN,

       Plaintiff,                            Civil Action No.    2:18-CV-1519

v.                                           FILED ELECTRONICALLY

CREDIT ACCEPTANCE CORPORATION
and UNITED TOWING SERVICE, LLC, JURY TRIAL DEMANDED

       Defendants.


                                   NOTICE OF REMOVAL

       Defendant, United Towing Service, LLC (“United”) by and through its counsel, the

JULIAN LAW FIRM and JOHN E. EGERS, JR., ESQUIRE, gives notice of the removal of this

proceeding from the Court of Common Pleas of Allegheny County, Pennsylvania and states as

follows:

       1.      On or about October 12, 2018, Plaintiff commenced an action against Defendants

by filing a Complaint at Case No. GD-18-012956 in the Court of Common Pleas of Allegheny

County, Pennsylvania. A true and correct copy of the Complaint is attached as Exhibit “A”.

       2.      On or about October 22, 2018, an Amended Complaint was filed in this matter

before either Defendant filed an Answer or Preliminary Objections. A true and correct copy of

the Amended Complaint is attached as Exhibit “B”.

       3.      The Complaint contains an allegation against United alleging a violation of the Fair

Debt Collection Practices Act at 15 U.S.C. §1692 et seq.

       4.      The above-described action against Defendants by Plaintiff is a civil action for

which this Court would have original jurisdiction when it was instituted and of which this Court

has original jurisdiction under the provisions of 28 U.S.C. §1331, and is one which may be
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removed to this Court by United pursuant to the provisions of 28 U.S.C.§1441(a), in that it is a

“civil action brought in a State court of which the district courts of the United States have original

jurisdiction, and may be removed by the defendant or defendants, to the district court of the United

States for the district and division embracing the place where such action is pending.”

          5.      On November 2, 2018, United was served with a copy of the Amended Complaint

by Certified Mail; United was never served with the Complaint.

          6.      The Complaint and Amended Complaint both allege additional causes of action

under the Fair Credit Extension Uniformity Act (as to both Defendants) a violation of the Uniform

Commercial Code at 13 Pa.C.S.§9609 against Credit Acceptance Corporation and Battery,

Conversion/Trespass Chattels (as to both Defendants).

          7.      The state law claims listed in Paragraph 6 are not within the original jurisdiction of

this Court, but are within its supplemental jurisdiction and are removable in their entirety. 28

U.S.C. §1441(c) and 28 U.S.C. §1357.

          8.      Pursuant to 28 U.S.C. §1446(a) attached to this Notice at Exhibit “B” is a true and

correct copy of the Amended Complaint, the only pleading provided to United in the state court

action.

          9.      This Notice of Removal is timely under 28 U.S.C. §1446 since the Amended

Complaint constitutes the “initial pleading” for purposes of removal in this action as it was the

only complaint served upon United setting forth the claim for relief. See copy of Affidavit of

Service filed November 5, 2018 at Exhibit “C”.

          10.     Prior to the Notice of Removal, no pleadings were filed by United in the state court

action.
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       WHEREFORE, United gives notice that the action pending in the Court of Common
Pleas of Allegheny County, Pennsylvania is removed to this Court.
                                           Respectfully submitted,

                                           JULIAN LAW FIRM
Dated: November 13, 2018
                                           /s/ John E. Egers, Jr.________________
JURY TRIAL DEMANDED                        JOHN E. EGERS, JR., ESQUIRE
                                           PA I.D. No. 89172
                                           71 North Main Street
                                           Washington, PA 15301
                                           Telephone: 724-228-1860
                                           Facsimile: 724-225-9643
                                           Email: johnegers@julianlawfirm.com
                                           Attorney for Defendant, United Towing
                                           Service, LLC
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                                CERTIFICATE OF SERVICE
       I do hereby certify that a true and correct copy of the foregoing NOTICE OF REMOVAL

was sent to all counsel of record this 13th day of November, 2018, via First-Class U.S. Mail,

postage prepaid, addressed as follows:

                                     Cary L. Flitter, Esquire
                                   Andrew M. Milz, Esquire
                                 Jody T. Lopez-Jacobs, Esquire
                                       Flitter Milz, P.C.
                                    450 N. Narberth Avenue
                                           Suite 101
                                      Narberth, PA 19072

                                Brendan B. Lupetin, Esquire
                                  Joshua R. Lamm, Esquire
                             Meyers Evans Lupetin & Unatin, LLC
                                       The Gulf Tower
                                          Suite 3200
                                     707 Grant Building
                                    Pittsburgh, PA 15219

                                     Attorneys for Plaintiff

                                  Brandon R. Gamble, Esquire
                            Stradley, Ronon, Stevens & Young, LLP
                                   30 Valley Stream Parkway
                                   Malvern, PA 19355-1481

                    Attorney for Defendant, Credit Acceptance Corporation

                                     JULIAN LAW FIRM


                                     /s/John E. Egers, Jr.
                                     JOHN E. EGERS, JR., ESQUIRE
                                     PA I.D. No. 89172
                                     71 North Main Street
                                     Washington, PA 15301
                                     Telephone: 724-228-1860
                                     Facsimile: 724-225-9643
                                     Email: johnegers@julianlawfirm.com
                                     Attorney for Defendant, United Towing
                                     Service, LLC
